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AO 456 (Rev.5/85) Notice
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                              United States District Court
                                   Western District of Pennsylvania

                                                NOTICE

UNITED STATES OF AMERICA
       v.                                                        1:15cr00036
ELIZABETH MCMAHAN                                                Electronic Filing
__________________________________________________________________________________________
TYPE OF CASE:
                      ___ CIVIL      XX CRIMINAL
__________________________________________________________________________________________

  XX      TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth
below:
__________________________________________________________________________________________
PLACE                                          |ROOM NO.
   Honorable David Stewart Cercone             | Courtroom No. A
   United States Courthouse                    |_______________________________________________
   17 South Park Row                           |DATE AND TIME
   Erie, PA 16501                              | Friday, June 14, 2019, at 1:30 PM
__________________________________________ |_______________________________________________
TYPE OF PROCEEDING


                                         SENTENCING HEARING

__________________________________________________________________________________________

_____ TAKE NOTICE that the proceeding in this case has been rescheduled as indicated below:

__________________________________________________________________________________________
PLACE                               |DATE AND TIME               |RESCHEDULED TO
                                    |PREVIOUSLY SCHEDULED        |DATE AND TIME
Honorable David Stewart Cercone     |                            |
United States Courthouse            |
17 South Park Row                   |                            |
Erie, PA 16501                      |                            |
__________________________________________________________________________________________

                                                                  Joshua C. Lewis
                                                                  Clerk of Court

DATE: January 28, 2019
                                                                  s/ Nancy J. Trapani
                                                                  (BY) Deputy Clerk

cc:     Christian A. Trabold, AUSA
        Thomas Livingston, AFPD
        United States Probation Office
        United States Marshal

        (Via CM/ECF Electronic Mail)
